             Case 23-00778-LT11                   Filed 03/24/23           Entered 03/24/23 15:43:14                   Doc 1       Pg. 1 of 63


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Arthroscopic & Laser Surgery Center of San Diego, L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Oasis Surgery Center
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5471 Kearny Villa Rd. Suite 100
                                  San Diego, CA 92123
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5471 Kearny Villa Rd. Suite 100 San Diego, CA
                                                                                                  92123
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case 23-00778-LT11                      Filed 03/24/23           Entered 03/24/23 15:43:14                          Doc 1        Pg. 2 of 63

Debtor    Arthroscopic & Laser Surgery Center of San Diego, L.P.                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6214

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
              Case 23-00778-LT11                         Filed 03/24/23            Entered 03/24/23 15:43:14                       Doc 1       Pg. 3 of 63

Debtor    Arthroscopic & Laser Surgery Center of San Diego, L.P.                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
            Case 23-00778-LT11           Filed 03/24/23          Entered 03/24/23 15:43:14                    Doc 1    Pg. 4 of 63

Debtor   Arthroscopic & Laser Surgery Center of San Diego, L.P.                      Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million               $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million             More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
             Case 23-00778-LT11                  Filed 03/24/23            Entered 03/24/23 15:43:14                        Doc 1     Pg. 5 of 63

Debtor    Arthroscopic & Laser Surgery Center of San Diego, L.P.                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 24, 2023
                                                  MM / DD / YYYY


                             X   /s/ Laura Harding                                                        Laura Harding
                                 Signature of authorized representative of debtor                         Printed name

                                         Secretary, Saratoga Surgery Center
                                 Title   Group, Inc.




18. Signature of attorney    X   /s/ Ahren A. Tiller                                                       Date March 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ahren A. Tiller 250608
                                 Printed name

                                 Bankruptcy Law Center
                                 Firm name

                                 1230 Columbia St., Suite 1100
                                 San Diego, CA 92101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     619-894-8831                  Email address


                                 250608 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
         Case 23-00778-LT11                   Filed 03/24/23             Entered 03/24/23 15:43:14                 Doc 1        Pg. 6 of 63




Fill in this information to identify the case:

Debtor name         Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration       Balance Sheet, Profit and Loss Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 24, 2023                  X /s/ Laura Harding
                                                           Signature of individual signing on behalf of debtor

                                                            Laura Harding
                                                            Printed name

                                                            Secretary, Saratoga Surgery Center Group, Inc.
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
       Case 23-00778-LT11        Filed 03/24/23          Entered 03/24/23 15:43:14      Doc 1       Pg. 7 of 63

11:09 AM                         Arthoscopic & Laser Surgery Center, LP
02/03/23                                           Profit & Loss
Cash Basis                                January through December 2022

                                                                            Jan - Dec 22
                Ordinary Income/Expense
                     Income
                        Contractual Adjustments
                           4010 · Medicare Contractual                            -376,577.65
                           4205 · BC/BS Contractual                               -485,728.92
                           4225 · Tri-Care Contractuals                         -6,720,972.43
                           4305 · Managed Care Contractual                        -278,983.93
                           4405 · Workers Comp Contractual                         -79,208.14
                           4610 · Other/Cosmetic Revenue                            -2,952.19
                           4700 · Other Contractuals SIS adj                        61,167.22
                           4850 · Auto/Litigation Contractuals                    -497,722.54

                        Total Contractual Adjustments                                    -8,380,978.58

                        Outpatient Revenues
                          3500 · Medicare Revenue                                 483,116.00
                          3600 · Blue Cross/Blue Shield                           741,547.00
                          3625 · Tri-Care Revenue                              10,015,594.80
                          3650 · Manged Care Revenue                              510,727.00
                          3700 · Workers Comp Revenue                             122,000.00
                          3800 · Other/Cosmetic Revenue                            66,675.00
                          3830 · Auto Revenue                                     603,230.00

                        Total Outpatient Revenues                                       12,542,889.80

                        4900 · Special Contractuals                                          66,022.94

                     Total Income                                                          4,227,934.16

                  Gross Profit                                                             4,227,934.16

                     Expense
                       Fixed Expenses
                          8500 · Rent Expense                                     352,452.65
                          8700 · Insurance - General Liability                     26,150.72
                          8802 · Insurance - Med Mal                               11,831.44
                          9000 · Miscellaneous Taxes                                2,046.50
                          9015 · Property Tax                                      11,470.14

                        Total Fixed Expenses                                                403,951.45

                        Salary Expenses
                          6000 · Salaries and Wages                             1,136,574.09
                          6080 · Payroll Taxes                                     91,037.24
                          6200 · 401K Expenses                                          0.00
                          6205 · 401K Company Match                                13,870.20
                          6240 · Other Benefits                                       586.53
                          6302 · Group Insurance Premiums                          49,607.82
                          6402 · Workers Comp Ins-Premiums                         17,220.00
                          6450 · Contract Labor                                    44,650.36
                          6560 · Payroll Expenses                                  16,493.59
                          Salary Expenses - Other                                     357.49

                        Total Salary Expenses                                              1,370,397.32

                        Variable Expense
                          Maintenance Contracts
                             7205 · Maintenance Contracts                   38,597.62
                             Maintenance Contracts - Other                     370.00

                           Total Maintenance Contracts                               38,967.62

                           Minor Equipment
                             7000 · Minor Equipment                          3,300.00
                             7100 · Equipment Rental                        14,091.14

                           Total Minor Equipment                                     17,391.14




                                                                                                                  Page 1
       Case 23-00778-LT11       Filed 03/24/23           Entered 03/24/23 15:43:14      Doc 1       Pg. 8 of 63

11:09 AM                       Arthoscopic & Laser Surgery Center, LP
02/03/23                                           Profit & Loss
Cash Basis                                  January through December 2022

                                                                            Jan - Dec 22
                          Repairs & Maintenance
                            7200 · Repairs & Maintenance                    42,119.90
                            Repairs & Maintenance - Other                   24,687.03

                          Total Repairs & Maintenance                                66,806.93

                          Telephone
                             7355 · Telephone Expense                       10,393.55
                             7356 · Data Communications                      2,888.82

                          Total Telephone                                            13,282.37

                          Travel
                             7705 · Travel Expense                            160.70

                          Total Travel                                                  160.70

                          Utilities
                             7351 · Utilities-Electric                      39,964.00
                             Utilities - Other                              12,985.26

                          Total Utilities                                            52,949.26

                          6500 · Supplies Med/Surg-Chargeable                     864,166.14
                          6521 · Supplies-Anesthesia-Non Charg.                       272.58
                          6525 · Supplies-Non Medical                              10,230.58
                          6530 · Supplies-Departmental                                607.06
                          6660 · Drugs-Chargeable                                  50,050.16
                          6680 · Food Supplies                                     21,364.32
                          6710 · Implants and Prosthetics                       1,368,308.87
                          6800 · Office Supplies                                   12,672.49
                          6860 · Postage                                            1,079.21
                          6870 · Delviery Charge                                    1,059.68
                          6900 · Miscellaneous Expenses                             2,235.20
                          7375 · Linens                                            47,389.88
                          7376 · Janitorial Expense                                43,501.62
                          7525 · Management Fees                                        0.00
                          7530 · Legal Fees                                         6,926.59
                          7535 · CPA Fees                                          16,457.50
                          7536 · Contracted Consultants                            10,439.74
                          7537 · Computer Support/Technology                       15,132.00
                          7540 · Contract Servies                                  62,539.78
                          7575 · Bank Service Charge                                8,250.14
                          7605 · Auto Expense                                         826.00
                          7615 · Loan interest expense                                781.95
                          7700 · Recruiting & Relocation                            1,788.33
                          7780 · Dues & Subscriptions                              13,656.68

                       Total Variable Expense                                              2,749,294.52

                     Total Expense                                                         4,523,643.29

                Net Ordinary Income                                                         -295,709.13

                Other Income/Expense
                  Other Income
                     5400 · PPP Loan                                                               0.00
                     5500 · Miscellaneous Income                                               4,391.44

                  Total Other Income                                                           4,391.44




                                                                                                                  Page 2
       Case 23-00778-LT11       Filed 03/24/23        Entered 03/24/23 15:43:14    Doc 1        Pg. 9 of 63

11:09 AM                       Arthoscopic & Laser Surgery Center, LP
02/03/23                                         Profit & Loss
Cash Basis                               January through December 2022

                                                                         Jan - Dec 22
                   Other Expense
                     9716 · Depreciation-Leasehold Improv.                               10,452.96
                     9717 · Deprecaton-Equipment                                         12,280.67
                     9718 · Depreciation - Auto                                          28,952.76
                     9721 · Depreciation-Surgical Inst                                   15,436.84

                   Total Other Expense                                                   67,123.23

                Net Other Income                                                         -62,731.79

              Net Income                                                                -358,440.92




                                                                                                              Page 3
      Case 23-00778-LT11         Filed 03/24/23         Entered 03/24/23 15:43:14     Doc 1          Pg. 10 of 63

11:08 AM                         Arthoscopic & Laser Surgery Center, LP
02/03/23                                           Balance Sheet
Cash Basis                                       As of December 31, 2022

                                                                              Dec 31, 22
               ASSETS
                 Current Assets
                   Checking/Savings
                      Cash & Temporary Investments
                         1000 · Petty Cash                                            500.00
                         1010 · Pacific Premiere - Operating                        1,815.53
                         1030 · Pacific Premiere - Payroll                              9.41
                         1040 · Pacific Premiere MM                                   523.92

                       Total Cash & Temporary Investments                                      2,848.86

                    Total Checking/Savings                                                     2,848.86

                    Other Current Assets
                      Accounts Receivable Trade                                                    0.00

                       Inventories
                          1300 · Inventory-Med Supply Chargables                220,891.33
                          1310 · Inventory-Pharmacy                              39,233.03
                          1341 · Inventory-Implants                             190,948.77

                       Total Inventories                                                 451,073.13

                       Prepaid & Other Assets
                          1505 · Prepaid Rent                                    28,742.00
                          1510 · Prepaid Taxes                                    6,200.39
                          1514 · Prepaid Service Agreements                       6,679.63
                          1524 · Prepaid Insurance                               39,227.71
                          1541 · Security Deposits                              200,000.00

                       Total Prepaid & Other Assets                                      280,849.73

                    Total Other Current Assets                                           731,922.86

                 Total Current Assets                                                    734,771.72

                 Fixed Assets
                    Accumulated Depreciation
                      1796 · Acc Depr-Leashold Improvments                    -1,029,904.72
                      1797 · Acc Depr-Equipment                               -1,531,181.41
                      1798 · Acc Depr-Auto                                      -123,049.23
                      1801 · Acc Depr Surgical Instruments                      -220,982.84
                      1802 · Accumulated Deprec - Medical Eq                    -144,114.04

                    Total Accumulated Depreciation                                     -3,049,232.24

                    Property, Plant & Equipment
                      1716 · Leasehold improvements                           1,020,259.31
                      1717 · Equipment                                        1,528,906.37
                      1721 · Surgical Equipment                                 150,383.48
                      1722 · Medical Equip                                      372,992.58

                    Total Property, Plant & Equipment                                   3,072,541.74

                    1714 · Automobile                                                    189,533.70

                 Total Fixed Assets                                                      212,843.20

               TOTAL ASSETS                                                              947,614.92

               LIABILITIES & EQUITY
                  Liabilities
                     Current Liabilities
                        Accounts Payable
                            2000 · *Accounts Payable                                            -392.48

                       Total Accounts Payable                                                   -392.48




                                                                                                                    Page 1
      Case 23-00778-LT11         Filed 03/24/23          Entered 03/24/23 15:43:14    Doc 1       Pg. 11 of 63

11:08 AM                         Arthoscopic & Laser Surgery Center, LP
02/03/23                                           Balance Sheet
Cash Basis                                      As of December 31, 2022

                                                                               Dec 31, 22
                       Other Current Liabilities
                         Acc Int & Other Current Liab.
                            2457 · State Use Tax Payable                               0.29

                          Total Acc Int & Other Current Liab.                                  0.29

                          ConMed Lease                                                    -6,478.30
                          2138 · Legal Shield                                                 86.70
                          2141 · Aflac                                                    -1,338.34
                          2401 · 401K Withheld                                               870.61
                          2440 · Vehicle Loan                                             39,512.31
                          2456 · Accrued Mgmt Fee                                        462,296.36
                          2459 · Loan from Saratoga                                       40,000.00
                          2500 · I/C Loan Payable                                        800,000.00

                       Total Other Current Liabilities                                 1,334,949.63

                    Total Current Liabilities                                          1,334,557.15

                 Total Liabilities                                                     1,334,557.15

                 Equity
                   General Partner Equity
                      2935 · Partnership Dist-Gen Part                         -3,773,950.00

                    Total General Partner Equity                                       -3,773,950.00

                    Limited Partner Equity
                       2882 · Limited Partner-Repurchase                           -3,060.00
                       2885 · Partnership Dist-LP                              -1,013,740.00

                    Total Limited Partner Equity                                       -1,016,800.00

                    Partnership Equity                                                  -193,592.02
                    32000 · Retained Earnings                                          4,955,840.71
                    Net Income                                                          -358,440.92

                 Total Equity                                                            -386,942.23

               TOTAL LIABILITIES & EQUITY                                                947,614.92




                                                                                                                 Page 2
              Case 23-00778-LT11                Filed 03/24/23             Entered 03/24/23 15:43:14                           Doc 1          Pg. 12 of 63


 Fill in this information to identify the case:
 Debtor name Arthroscopic & Laser Surgery Center of San Diego, L.P.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                CALIFORNIA REVISED PLAN
                                                6/2016
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Acumed, LLC                                         Medical                                                                                                       $1,175.95
 7995 Collection                                     equipment
 Center Dr.
 Chicago, IL 60693
 Alicia Annette Clark                                Civil Suit                                                                                                $811,390.27
 c/o Lyon Law PC                                     Judgment
 3605 Long Beach
 Blvd., #311
 Long Beach, CA
 90807
 Arthrex, Inc.                                       Medical                                                                                                   $548,767.08
 P.O. Box 403511                                     equipment
 Atlanta, GA 30384
 Brasseler USA                                       Medical                                                                                                         $248.91
 One Brasseler Blvd.                                 equipment
 Savannah, GA 31419
 Global Power                                        Services                                                                                                      $1,035.84
 Group, Inc.
 12060 Woodside
 Ave
 Lakeside, CA 92040
 Hickman &                                           Attorney fees                                                                                               $84,581.04
 Robinson, LLP
 701 B St., Ste. 1840
 San Diego, CA
 92101
 J & J Health Care                                   Medical                                                                                                         $594.00
 Systems                                             equipment
 5972 Collections
 Center Dr.
 Chicago, IL 60693




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
              Case 23-00778-LT11                Filed 03/24/23             Entered 03/24/23 15:43:14                           Doc 1          Pg. 13 of 63



 Debtor    Arthroscopic & Laser Surgery Center of San Diego, L.P.                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Jan Pro of San                                      Cleaning services                                                                                             $3,722.00
 Diego
 4125 Sorrento Valley
 Blvd.
 Suite E
 San Diego, CA
 92126
 JJJ Enterprises                                     Alarm services                                                                                                  $565.00
 P. O. Box 463021
 Escondido, CA
 92046
 McKesson Medical                                    Medical                                                                                                     $24,253.20
 Surgical, Inc                                       equipment
 P.O. Box 933027
 Atlanta, GA 31193
 Medely                                              Employment                                                                                                    $3,060.65
 P.O. Box 736997                                     agency
 Dallas, TX 75373
 Osteomed LP                                         Medical                                                                                                       $3,777.16
 2241 Collection                                     equipment
 Center Dr.
 Chicago, IL 60693
 Paragon 28 Inc.                                     Medical                                                                                                     $10,888.00
 Dept V1532                                          equipment
 P.O. Box 17180
 Denver, CO 80217
 Saratoga Surgery                                    loan                                                                                                    $1,470,530.93
 Center Group
 5471 Kearny Villa
 Rd., #100
 San Diego, CA
 92123
 Shred-It c/o                                        Office services                                                                                                 $305.83
 Stericycle
 28883 Network
 Place
 Chicago, IL 60673
 Stryker Berchtold                                   Medical                                                                                                         $569.19
 Com.                                                equipment
 22491 Network
 Place
 Chicago, IL 60673
 Stryker Endoscopy                                   Medical                                                                                                   $130,616.51
 P.O. Box 93276                                      equipment
 Chicago, IL 60673
 Trilogy MedWaste                                    Waste Services                                                                                                  $250.66
 P.O. Box 670567
 Dallas, TX 75267




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
              Case 23-00778-LT11                Filed 03/24/23             Entered 03/24/23 15:43:14                           Doc 1          Pg. 14 of 63



 Debtor    Arthroscopic & Laser Surgery Center of San Diego, L.P.                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wright Medical                                      Medical                                                                                                       $3,532.26
 Technology                                          equipment
 P.O. Box 503482
 Saint Louis, MO
 63150
 Zimmer US                                           Medical                                                                                                     $96,422.81
 75 Remittance Dr.,                                  equipment
 Ste. 3283
 Chicago, IL 60675




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
          Case 23-00778-LT11                                   Filed 03/24/23                         Entered 03/24/23 15:43:14                                          Doc 1       Pg. 15 of 63

Fill in this information to identify the case:

Debtor name           Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           471,349.48

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           471,349.48


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            37,751.61


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,197,225.11


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           3,234,976.72




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
          Case 23-00778-LT11                 Filed 03/24/23           Entered 03/24/23 15:43:14                       Doc 1           Pg. 16 of 63

Fill in this information to identify the case:

Debtor name         Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Pacific Premier Bank                              Checking                              4137                                    $47,944.21




          3.2.     Pacific Premier Bank                              Checking                              2611                                             $0.00




          3.3.     Pacific Premier Bank                              Checking                              4129                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $47,944.21
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                     page 1
          Case 23-00778-LT11                  Filed 03/24/23           Entered 03/24/23 15:43:14                   Doc 1     Pg. 17 of 63


Debtor           Arthroscopic & Laser Surgery Center of San Diego,                          Case number (If known)
                 L.P.
                 Name

          Description, including name of holder of prepayment
                   Prepaid Rent of $300,000 pursuant to the Lease Agreement, however any prepayment is
                   setoff due to the $2,000,000+ in liquidated damages due under the lease should Debtor
          8.1.     default.                                                                                                                   $0.00




9.        Total of Part 2.                                                                                                                 $0.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   640,940.88       -                           427,293.92 = ....                   $213,646.96
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $213,646.96
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Medical Supplies and
          Implants.                          N/A                                          $0.00                                          Unknown




23.       Total of Part 5.                                                                                                                 $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
          Case 23-00778-LT11                 Filed 03/24/23             Entered 03/24/23 15:43:14                 Doc 1     Pg. 18 of 63


Debtor       Arthroscopic & Laser Surgery Center of San Diego,                              Case number (If known)
             L.P.
             Name



25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used    Current value of
                                                                         debtor's interest          for current value        debtor's interest
                                                                         (Where available)

39.       Office furniture
          3 desks
          23 chairs
          multiple cabinets
          3 refrigerators
          2 tables
          water dispenser
          1 television                                                                    $0.00                                         $2,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          9 computer screens
          1 Server
          6 computer monitors
          6 printers
          9 telephones
          2 Ipads                                                                         $0.00                                         $3,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                              $5,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
          Case 23-00778-LT11               Filed 03/24/23           Entered 03/24/23 15:43:14               Doc 1      Pg. 19 of 63


Debtor       Arthroscopic & Laser Surgery Center of San Diego,                         Case number (If known)
             L.P.
             Name


             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used    Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2018 Tesla Model X, Mileage 82000
                   Owned with David Chao                                             $0.00                                        $23,286.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)




Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                     page 4
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 20 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 1:

         3 WARMING CABINETS HALF
         STERILIZER/WASHER VACAMATIC
         STERILIZER/WASHER
         INST LUB-HTS PURE WA
         MANIFOLD RACK
         CHAIR RECOVERY
         3 LIGHT O.R. DOUBLE
         ELECTROSURGICAL UNIT
         ENDOSCOPIC ACL SYS
         2 HOURGLASS W/O INSERT
         3 FILTER HOUSING & TUB
         FILTER HOUSING/TUBES
         3 HAMPERS
         IV POLES - 4 HOOK
         3 TOURNIQUET AUTOMATIC
         MODIFIED SUTURE
         2 SUTURE PUNCH CURVED
         ELECTROSURGICAL UNIT
         PANELS WHIRLEY BIRD
         SCOPE INTUBATION
         CUBICLE CURTIANS
         SHOWER CURTIANS
         2 CHAIR RECOVERY
         2 BED ELECTRIC
         5 STRETCHER HYDRAULIC
         SONY TELEVISION
         MAGNAVOX TV
         FILE HIGH DENSITY
         SURGISLIDE
         CONTROLLER SURGICAL
         50K DRILL HANDSWITCH
         3 CONTROLLER DRILL
         2 MICRO DRIVER
         HUDSON TRINKLE REAME
         JACOB REAMER
         SPINAL DRILL HANDSWI
         2 JACOB CHUCK
         2 SYNTHES CHUCK
         50K DRILL HANDSWITCH
         3 CONTROLLER SURGICAL
         3 OSC SAW
         TARZAN FABRIC SOFA
         CERVICAL DISTRACTOR
         TRANSVERSE CERVICAL
         LONGITUDINAL CERVICA
         CERVICAL DISTR LEFT
         LONG CERVICAL DISTR
         LONG CERVICAL DIST
         LOT MED GAS EQUIP
         6 CART C-LOCKERS
         WOMENS LOCKERS
         MENS LOCKERS
         TRANSTIBIAL DRILL GU
         CONDESATE RETURN
         X-RAY MOBILE C-ARM
         2 SYNTHES DRILL
         CAVETATOR ULTRA
         2 PIN COLLET                                                 $0.00    Appraisal                     Unknown



Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 5
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 21 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 2:

         UNGD LUMB GRFT DRVR
         STILETTO OSTEO SET
         LIGHT SOURCE XENON
         INSTALL OF SOFTWARE
         3 CPM MACHINE
         2 LQD JOHNSON JAWS 130MM W.1
         3 RT ANGLE CLAMPS
         PEAPOD I-V DISC
         VARIOUS NON-PERF CLAMPS
         SURGICAL INSTRUMENTS
         LQD JOHNSON JAWS
         4 SURGICAL INSTRUMENTS
         DERRICO NEVE ROOT RET
         PRECISION MARKING RULE 12"
         8"GRUENWALD BAY
         SOD JOHNSON JAWS 130mm
         DEBAKEY TIS FCPS THIN 7 3/4
         ATRAUCLIP APPLIER SM. CLIP
         10" WOODSON ELEVATOR/SPATULA
         MULTIUSE HANDPIECEHIGH POWER
         DELICATE IVD RONGEUR DOWN
         DEBAKEY TIS FCPS THIN 7 3/4
         7" WRK/LENGTH MULTI HOLE SUCT
         CUSHING IVD RONGEUR DWN 7
         CUSHING TIS FCPS 7-3/4
         CERV GRAFT DRIVER-UNGUARD
         CARB-BITE DEBAKEY NH6
         FARR SPRING RETR 2 SHARP
         STEVENS TENOTOMY SCISSORS CVD
         CUSH BAY DRESS FCP 7 1/4
         3.5 MM ONE PIECE HEX DRIVER
         HANDPIECE CORD
         3 SETS OF SURGICAL INSTRUMENTS
         BATTERY PACK
         OPERATING SCS CVD S/S 5-1/2
         TENOTOMY SCS
         4 JARTI KERRISON RONGS
         MF IRR /TI 8 3/4 1.5 mm TIP
         STRYKER
         HERBERT BONE SCREW
         BONE TUNNEL PLUG
         WIRE CUTTERS
         IMPLANT SET CASE& WIRE PASSER
         COBB GOUGE & COBB ELEVATOR
         COBB CURRETTES
         JAMISON METZENBAUM SCISSORS
         PENFIELD DISSECTORS
         LESKELL RONG
         WIRE TIGHTENERS
         KELLY FCPS 5 1/2
         CLOSED 3 MM CURETTE
         FLAT NOSED &LOCKING PLIERS
         FARR WIRE RETRACTOR                                          $0.00                                  Unknown




Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 6
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 22 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 3:

         CANNULATED HEXAGONAL SCREWDRIV
         CANN LUM DB STR
         CLOSED SURETTE
         SUGICAL DRILL
         CANNULATED HEXAGONAL SCREWDRIV
         THUMB 1X2 TEETH
         CANNULATED HEX.
         SELF RETAINING BLUNT RETRACTOR
         COAGULATOR BIPOLAR
         OBTURATOR
         SMITH PETERSON
         4 KNEE INSTRUMENTATION
         STERILIZATION CASE,CHANDRO PIC
         SUTURE CUTTER
         CANNULATED OBTURATORS
         4100 BATTERIES
         COBB ELEVATOR &
         BONE CLAMP
         STERILIZER/WASHER VACAMATIC
         SOFTWARE
         MULTIUSE HANDPIECE
         SALES USE TAX AMERICAN MEDICAL
         4 ARTHOSCOPE
         3 LIGHT SOURCE XENON
         HANDPIECE, HI POWER MULTIUSE
         HANDPIECE, HI POWER
         MONITOR PATIENT
         DEFIBRILLATOR
         USE TAX/BREG, INC
         USE TAX / BREG INC
         SHIELD LEAD
         LIGHT SOURCE XENON
         PRINTER LASER
         2 PUMP ARTHROSCOPIC
         WARMING CABINET
         PRINTER LASER
         7 TRUCK SUPPLY
         5 WARMER PATIENT
         SWITCH
         TABLE OPERATING
         CABLE/STRYKER/FIBEROPTIC 5MMX1
         WATER HEATER / ARS
         SWITCH
         LEG HOLDER/OSI/PREP ASSIST
         9 BOOM EQUIPMENT
         CART CAST S/S
         CONTROLLER SURGICAL
         ELECTROSURGICAL UNIT
         LIGHT SOURCE COLD
         2 MONITOR PATIENT
         PUMP ARTHROSCOPIC
         SAW CAST WITH VACUUM
         SEQUENTIAL COMPRESSION DEVICE
         TESTER STERILIZER
         WARMER PATIENT
         2 PRINTER LASER
         PRINTER LINE
         SWITCH                                                       $0.00                                  Unknown



Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 7
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 23 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 4:

         8 MONITOR PATIENT
         TIME CLOCK/GORRIE REAGAN
         LEG HOLDER/OSI/PREP
         SHAVER/STRYKER/12K
         2 ANESTHESIA MACHINE/KINGSBRIDGE
         BATTERY CHARGER/STRYKER
         PENDANT ASSYHAND5100/GETINGE
         3 STANDARD VIDEO CART KIT
         6 26" VISION ELECT HDTV SURGICAL
         MITEL 5000 PHONE SYSTEM
         TWO SURGICAL MONITORS
         PUMP
         STERILIZER/WASHER VACAMATIC
         Traction Tower Extremity Traction
         Refrigerator
         Heating HW Pump
         2 Pain table
         Pre Op moniter
         Bioler - autoclave
         Patient monitor                                              $0.00                                  Unknown




Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 8
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 24 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 5:

         TISSUE FCPS & JARIT STEEL RULE
         SPRATT CUREETE
         HEISS RETRACTOR
         REV. ANGLE CURETTES
         24 SETS OF INSTRUMENT TRAYS
         SURGICAL INSTRUMENTS
         MEDLINE IND. SURGICAL INSTRUME
         LINVATEC CORP. SURGICAL INSTRU
         2 PILLING WECK SURGICAL INSTRUMENT
         STRYKER ENDOSCOPY INSTRUMENTS
         SYNTHES SURGICAL INSTRUMENTS
         SURGICAL WEST SURGICAL INSTRUMENT
         ARTHREX SURG INSTRUMENTS
         STRYKER SURG INSTRUMENTS
         ZIMMER SURG INSTRUMENTS
         SYNTHES SURGICAL INSTRUMENTS
         SURGICAL WEST SURGICAL INSTRUM
         STRYKER SALES -
         ORATEC INTERVENTIONS - SURG IN
         S.F. CURRETTE
         INTEGRA - SURG INST
         SMITH & NEPHEW
         ENDORO PICK
         INTEGRA - SURG INST
         BECKMAN RETRACTOR
         SPULING RONGUER
         PILLING WECK SURGICAL INSTRUMENT
         ARTHREX SURG INSTRUMENTS
         STRYKER SURG INSTRUMENTS
         ZIMMER SURG INSTRUMENTS
         SYNTHES SURGICAL INSTRUMENTS
         SURGICAL WEST SURGICAL INSTRUM
         STRYKER SALES -
         ORATEC INTERVENTIONS - SURG IN
         S.F. CURRETTE
         INTEGRA - SURG INST
         SMITH & NEPHEW
         ENDORO PICK
         INTEGRA - SURG INST
         BECKMAN RETRACTOR
         SPULING RONGUER
         INTEGRA NEUROCARE SURGICAL INS
         SYNTHES SURGICAL INSTRUMENTS
         2 ARTHREX SURGICAL INSTRUMENTS
         PUMP CANNULA
         CANNULA STEP DRILL
         CRILE WOOD HEAVY
         CRILE WOOD
         ALLEIGIANCE - SURG INST
         SCISSORS AS PER
         BULLET, TRI-POINT
         RASP, RND, HF, 8MM
         OBTURATOR 5.5 MM                                             $0.00                                  Unknown




Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 9
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 25 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 6:

         S-F CURETTE 9"
         S-F CURETTE ANGLED 9"
         S-F CURETTE ANGLED 9"
         S-F CURETTE 9"
         5 STRYKER SURGICAL INSTRUMENTS
         17 ARTHREX SURG INSTSMITH & NEPHEW
         SURG INST
         PILLING WECK SURGICAL INSTRUME
         SMITH AND NEPHEW SURG INST
         SYNTHES SURG INST
         INTEGRA NEUROCARE SURGICAL INS
         SURG INST USE TAX
         INTEGRA SURG INST
         2 MITEK SURG INST
         MEDICAL RESOURSES SURG INST
         J & J SURG INST
         ARTHREX SURG INST
         OBTURATOR, REUSABLE
         J&J SURG INST
         HANDPIECE, MULTIUSE
         HANDPIECE, MULTIUSE
         MEDLINE SURG INST
         SUTURE PASSER,EXPRESS SEW                                    $0.00                                  Unknown


         Pre-Op, Operating room and Post-Anesthesia
         Care Unit (PACU) furniture and fixtures:
         3 computer screens
         4 monitors
         3 printers
         13 phones
         23 chairs
         3 pre-op chairs
         5 gurneys
         OR table
         2 C- arms
         3 autdaves
         1 washer/sterilizer
         3 Anest machines
         3 PACU monitors
         3 refrigerators
         4 blanket warmers
         3 suction machines
         1 freezer
         1 water dispenser
         1 television
         1 blood pressure machines                                    $0.00                                        $0.00




Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 10
       Case 23-00778-LT11          Filed 03/24/23      Entered 03/24/23 15:43:14            Doc 1   Pg. 26 of 63


Debtor     Arthroscopic & Laser Surgery Center of San Diego,           Case number (If known)
           L.P.
           Name

         LIST OF MEDICAL EQUIPMENT PART 7:

         COILS F/HEATING HOT WATER
         FLOORING/TILE IN OR
         BOILER/A O REED CO/REPLACEMENT
         COMPRESSOR/AO REED/6 TON
         ALARM PANEL/AIRGAS/F/MEDGAS SY
         REPLACE COMPRESSOR
         Power assisted door closer
         HOT WATER PUMP ARMSTRONG
         HVAC 2 HP MOTOR IN ROOM #3
         ELECTRIC LATCH EXIT DEVICE 313
         AUTOMATIC DOOR OPENER
         Steam Generator on the roof
         Hot water Coils
         Alarm system
         OR 2 Flooring
         Vacum Pump
         Global Power - Generator
         Air Compressor
         2 trane units & evaporator coils                             $0.00                                        $0.00


         LIST OF MEDICAL EQUIPMENT PART 8:

         Shampaine Table 5100 Hand Cont
         2 ANESTHESIA MONITORS
         2 CARDIOCAP 5 OPTIONS
         3 MICRO DRILL MEDIUM STRAIGHT AT
         3 1/4 INCH DRILL WITH JACOBS CHU
         2 SYSTEM 6 CHARGER
         7 TPS HANDPIECE CORD
         3 Micro Sagittal Saw
         6 UNIVERSAL HANDSWITCH
         3 SYNTHES DRILL
         3 CORE MICRO DRILL
         3 CORDLESS DRIVER 3
         3 CORE UNIVERSAL DRIVER
         STERILIZER FLASH-GUARD 23 (FG-
         2.3MM 30 DGR ARTHROSCOPE WRIST                               $0.00                                        $0.00




Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                       page 11
          Case 23-00778-LT11                  Filed 03/24/23        Entered 03/24/23 15:43:14                Doc 1   Pg. 27 of 63


Debtor        Arthroscopic & Laser Surgery Center of San Diego,                        Case number (If known)
              L.P.
              Name

           LIST OF MEDICAL EQUIPMENT PART 9:

           Steam Control Valve
           C-arm
           Beach Chair
           Surgical Table
           Prep holder for OR Table
           Beach Chair
           OR Chair
           Color Printer
           2 printers
           Shelf
           Endoscopy
           Traction Device
           Surgical Tray
           2 OR Beds
           2 OR Beds final payment
           Arm Table
           Sterrad NX Equipment
           Ankle Distractor Set
           Monitor - Stryker
           Anesthesia Machine
           Sterlizer trays
           IV pump
           Surgical Equip
           Cordless Driver w 1/4" drill
           Blunt Nose Assembly
           Fiber Tape Retriever w/ NR Handle
           OR Bed
           3 Anesthesia monitors
           2 Gurneys
           Vacumn Pump
           Lithium Battery Pack & Charger
           2 Sets of Surgical instruments                                            $0.00                                          $0.00




51.        Total of Part 8.                                                                                                $23,286.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                             page 12
        Case 23-00778-LT11                   Filed 03/24/23            Entered 03/24/23 15:43:14                Doc 1   Pg. 28 of 63


Debtor        Arthroscopic & Laser Surgery Center of San Diego,                            Case number (If known)
              L.P.
              Name



Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           11 U.S.C. 547 Preference Action for Money levied from
           bank account on 1/19/2023.
           Funds were levied by Judgment Creditor Alicia Clark on
           1/19/2023, whereby the above-referenced funds totalling
           $147,472.31 were levied from the Debtor's First Premier
           Bank Checking Account, transmitted to the Sheriff on
           2/1/2023, and subsequently sent to Lyon Law (Attorney
           for Alicia Clark) on 2/22/23.                                                                                          $147,472.31
           Nature of claim           Preference Action Pursuant to
                                     11 U.S.C. 547 for payment
                                     within 90 days of filing
           Amount requested                         $147,472.31



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Recovery of Preferential Payment paid to Dr. Chao for
           repayment of $34,000 loan given on 2/6/2023 and repaid
           by Debtor on 3/10/2023.                                                                                                 $34,000.00
           Nature of claim         11 U.S.C. 547 Preference to
                                   Insider
           Amount requested                       $34,000.00



76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Listed for disclosure purposes.
           The Debtor transferred multiple payments to Saratoga's
           Checking Account in order to operate business and
           avoid a levy. However, all funds / transfers were
           returned to the Debtor before filing. Debtor made
           multiple transactions totalling: $562,650.00 to Saratoga,
           and Saratoga returned $612,860 in total funds, thus all
           funds returned.                                                                                                               $0.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 13
       Case 23-00778-LT11                   Filed 03/24/23        Entered 03/24/23 15:43:14                 Doc 1   Pg. 29 of 63


Debtor      Arthroscopic & Laser Surgery Center of San Diego,                       Case number (If known)
            L.P.
            Name


78.      Total of Part 11.                                                                                               $181,472.31
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                             page 14
          Case 23-00778-LT11                             Filed 03/24/23                   Entered 03/24/23 15:43:14                          Doc 1       Pg. 30 of 63


Debtor          Arthroscopic & Laser Surgery Center of San Diego,                                                   Case number (If known)
                L.P.
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $47,944.21

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $213,646.96

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $5,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $23,286.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $181,472.31

91. Total. Add lines 80 through 90 for each column                                                            $471,349.48           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $471,349.48




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 15
             Case 23-00778-LT11                 Filed 03/24/23               Entered 03/24/23 15:43:14                   Doc 1       Pg. 31 of 63

Fill in this information to identify your case:

Debtor 1                    Laura Harding
                            First Name               Middle Name                  Last Name

Debtor 2
(Spouse if, filing)         First Name               Middle Name                  Last Name

                                               SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN
United States Bankruptcy Court for the:        6/2016

Case number
(if known)                                                                                                                           Check if this is an
                                                                                                                                     amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from      Check only one box for each exemption.
                                                       Schedule A/B
     Brief description:
     Line from Schedule A/B:
                                                                                     100% of fair market value, up to
                                                                                     any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                        page 1 of 1
          Case 23-00778-LT11                         Filed 03/24/23              Entered 03/24/23 15:43:14                   Doc 1          Pg. 32 of 63

Fill in this information to identify the case:

Debtor name          Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    US BANK                                      Describe debtor's property that is subject to a lien                   $37,751.61                $46,572.00
       Creditor's Name                              2018 Tesla Model X, Mileage 82000
       West Auto Loan                               Owned with David Chao
       PO BOX 790179
       Saint Louis, MO 63179-0179
       Creditor's mailing address                   Describe the lien
                                                    Auto Loan
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       2018                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0889
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $37,751.61

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
          Case 23-00778-LT11                        Filed 03/24/23              Entered 03/24/23 15:43:14                        Doc 1         Pg. 33 of 63

Fill in this information to identify the case:

Debtor name        Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Franchise Tax Board                                  Check all that apply.
          MS A340                                                 Contingent
          P.O. Box 2952                                           Unliquidated
          Sacramento, CA 95812                                    Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Oper.                            Contingent
          PO Box 7346                                             Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               notice only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 7
                                                                                                               39603
         Case 23-00778-LT11                   Filed 03/24/23          Entered 03/24/23 15:43:14                             Doc 1        Pg. 34 of 63

            Arthroscopic & Laser Surgery Center of San Diego,
Debtor      L.P.                                                                            Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,175.95
         Acumed, LLC                                                  Contingent
         7995 Collection Center Dr.                                   Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Medical equipment
         Last 4 digits of account number 0380
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $811,390.27
         Alicia Annette Clark                                         Contingent
         c/o Lyon Law PC                                              Unliquidated
         3605 Long Beach Blvd., #311                                  Disputed
         Long Beach, CA 90807
                                                                   Basis for the claim:    Civil Suit Judgment
         Date(s) debt was incurred 2018
         Last 4 digits of account number TCTL                      Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $548,767.08
         Arthrex, Inc.                                                Contingent
         P.O. Box 403511                                              Unliquidated
         Atlanta, GA 30384                                            Disputed
         Date(s) debt was incurred  2020-2023                      Basis for the claim:    Medical equipment
         Last 4 digits of account number 6914
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $248.91
         Brasseler USA                                                Contingent
         One Brasseler Blvd.                                          Unliquidated
         Savannah, GA 31419                                           Disputed
         Date(s) debt was incurred   2/2023                        Basis for the claim:    Medical equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,035.84
         Global Power Group, Inc.                                     Contingent
         12060 Woodside Ave                                           Unliquidated
         Lakeside, CA 92040                                           Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $191.99
         Helix Mechanical                                             Contingent
         1100 N. Magnolia Ave.                                        Unliquidated
         Suite L                                                      Disputed
         El Cajon, CA 92020
                                                                   Basis for the claim:    Services
         Date(s) debt was incurred 2/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $84,581.04
         Hickman & Robinson, LLP                                      Contingent
         701 B St., Ste. 1840                                         Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred 2020-2023
                                                                   Basis for the claim:    Attorney fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 7
         Case 23-00778-LT11                   Filed 03/24/23          Entered 03/24/23 15:43:14                             Doc 1        Pg. 35 of 63

            Arthroscopic & Laser Surgery Center of San Diego,
Debtor      L.P.                                                                            Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $594.00
         J & J Health Care Systems                                    Contingent
         5972 Collections Center Dr.                                  Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Medical equipment
         Last 4 digits of account number 3441
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,722.00
         Jan Pro of San Diego                                         Contingent
         4125 Sorrento Valley Blvd.                                   Unliquidated
         Suite E                                                      Disputed
         San Diego, CA 92126
                                                                   Basis for the claim:    Cleaning services
         Date(s) debt was incurred 1/2023-2/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $565.00
         JJJ Enterprises                                              Contingent
         P. O. Box 463021                                             Unliquidated
         Escondido, CA 92046                                          Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Alarm services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $24,253.20
         McKesson Medical Surgical, Inc                               Contingent
         P.O. Box 933027                                              Unliquidated
         Atlanta, GA 31193                                            Disputed
         Date(s) debt was incurred 1/2022-1/2023
                                                                   Basis for the claim:    Medical equipment
         Last 4 digits of account number 2514
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,060.65
         Medely                                                       Contingent
         P.O. Box 736997                                              Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred   2/2023                        Basis for the claim:    Employment agency
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $189.00
         Medico Professional Linen Svcs                               Contingent
         2201 E. Carson St.                                           Unliquidated
         Long Beach, CA 90807                                         Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Linen services
         Last 4 digits of account number 0000
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Orange County Sheriff                                        Contingent
         Harbor Division                                              Unliquidated
         4601 Jamboree Road, RM 108                                   Disputed
         Newport Beach, CA 92660
                                                                   Basis for the claim:    notice only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 7
         Case 23-00778-LT11                  Filed 03/24/23           Entered 03/24/23 15:43:14                             Doc 1        Pg. 36 of 63

            Arthroscopic & Laser Surgery Center of San Diego,
Debtor      L.P.                                                                            Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,777.16
         Osteomed LP                                                  Contingent
         2241 Collection Center Dr.                                   Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred 1/2023-2/2023
                                                                   Basis for the claim:    Medical equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,888.00
         Paragon 28 Inc.                                              Contingent
         Dept V1532                                                   Unliquidated
         P.O. Box 17180                                               Disputed
         Denver, CO 80217
                                                                   Basis for the claim:    Medical equipment
         Date(s) debt was incurred   12/2022-2/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.79
         POS Profeessional Office Svcs                                Contingent
         P.O. Box 450                                                 Unliquidated
         Waterloo, IA 50704                                           Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Medical billings services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $213.92
         ProPharma Distribution                                       Contingent
         11005 Dover St., Ste. 1000                                   Unliquidated
         Broomfield, CO 80021                                         Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Medical equipment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $127.12
         Quill Corporation                                            Contingent
         P.O. Box 37600                                               Unliquidated
         Philadelphia, PA 19101                                       Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Office supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,470,530.93
         Saratoga Surgery Center Group                                Contingent
         5471 Kearny Villa Rd., #100                                  Unliquidated
         San Diego, CA 92123                                          Disputed
         Date(s) debt was incurred 12/2010
                                                                   Basis for the claim:    loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $305.83
         Shred-It c/o Stericycle                                      Contingent
         28883 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Office services
         Last 4 digits of account number 9143
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 7
          Case 23-00778-LT11                     Filed 03/24/23               Entered 03/24/23 15:43:14                             Doc 1        Pg. 37 of 63

             Arthroscopic & Laser Surgery Center of San Diego,
Debtor       L.P.                                                                                   Case number (if known)
             Name

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $569.19
          Stryker Berchtold Com.                                              Contingent
          22491 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred 2/2023
                                                                           Basis for the claim:    Medical equipment
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.23      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $130,616.51
          Stryker Endoscopy                                                   Contingent
          P.O. Box 93276                                                      Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred   2021-2023                            Basis for the claim:    Medical equipment
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $125.00
          The Watkins Firm                                                    Contingent
          9915 Mira Mesa Blvd., Ste. 130                                      Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred 2/2023
                                                                           Basis for the claim:    Attorney fees
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $250.66
          Trilogy MedWaste                                                    Contingent
          P.O. Box 670567                                                     Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred   1/2023                               Basis for the claim:    Waste Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,532.26
          Wright Medical Technology                                           Contingent
          P.O. Box 503482                                                     Unliquidated
          Saint Louis, MO 63150                                               Disputed
          Date(s) debt was incurred 2/2023
                                                                           Basis for the claim:    Medical equipment
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $96,422.81
          Zimmer US                                                           Contingent
          75 Remittance Dr., Ste. 3283                                        Unliquidated
          Chicago, IL 60675                                                   Disputed
          Date(s) debt was incurred 2020-2023
                                                                           Basis for the claim:    Medical equipment
          Last 4 digits of account number 1805
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 7
         Case 23-00778-LT11            Filed 03/24/23        Entered 03/24/23 15:43:14                     Doc 1        Pg. 38 of 63

            Arthroscopic & Laser Surgery Center of San Diego,
Debtor      L.P.                                                               Case number (if known)
            Name

         Name and mailing address                                             On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                              related creditor (if any) listed?           account number, if
                                                                                                                          any
4.1      1370 Creekside Blvd.
         Naples, FL 34108                                                     Line   3.3

                                                                                     Not listed. Explain

4.2      14445 Grasslands Dr.
         Englewood, CO 80112                                                  Line   3.16

                                                                                     Not listed. Explain

4.3      345 E. Main St.
         c/o Legal Department                                                 Line   3.27
         Warsaw, IN 46580
                                                                                     Not listed. Explain

4.4      3885 Arapaho Rd.
         Addison, TX 75001                                                    Line   3.15

                                                                                     Not listed. Explain

4.5      6535 State Hwy 161
         Irving, TX 75039                                                     Line   3.11

                                                                                     Not listed. Explain

4.6      9954 Mayland Dr., Ste. 5176
         Henrico, VA 23233                                                    Line   3.11

                                                                                     Not listed. Explain

4.7      CSC Lawyers Incorporating Serv
         2710 Gateway Oaks                                                    Line   3.11
         Sacramento, CA 95833
                                                                                     Not listed. Explain

4.8      CSC Lawyers Incorporating Serv
         2710 Gateway Oaks                                                    Line   3.15
         Sacramento, CA 95833
                                                                                     Not listed. Explain

4.9      CSC Lawyers Incorporating Serv
         2710 Gateway Oaks                                                    Line   3.27
         Sacramento, CA 95833
                                                                                     Not listed. Explain

4.10     CT Corporation Systems
         330 N. Brand Ave.                                                    Line   3.3
         Glendale, CA 91203
                                                                                     Not listed. Explain

4.11     CT Corporation Systems
         330 N. Brand Ave.                                                    Line   3.26
         Glendale, CA 91203
                                                                                     Not listed. Explain

4.12     Registered Agents Inc.
         1401 21st St., Ste. R                                                Line   3.16
         Sacramento, CA 95811
                                                                                     Not listed. Explain

4.13     Stryker
         5900 Optical Ct.                                                     Line   3.23
         San Jose, CA 95138
                                                                                     Not listed. Explain


Official Form 206 E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 7
          Case 23-00778-LT11                 Filed 03/24/23           Entered 03/24/23 15:43:14                       Doc 1         Pg. 39 of 63

            Arthroscopic & Laser Surgery Center of San Diego,
Debtor      L.P.                                                                        Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.14      Stryker
          2825 Airview Blvd.                                                           Line     3.23
          Portage, MI 49002
                                                                                              Not listed. Explain

4.15      Wright Medical Technology
          320 State Pl.                                                                Line     3.26
          Escondido, CA 92029
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                          0.00
5b. Total claims from Part 2                                                              5b.    +     $                  3,197,225.11

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    3,197,225.11




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 7
        Case 23-00778-LT11                    Filed 03/24/23            Entered 03/24/23 15:43:14                    Doc 1         Pg. 40 of 63

Fill in this information to identify the case:

Debtor name       Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Third Amendment to
           lease is for and the nature of        Master Commercial
           the debtor's interest                 Lease Agreement to
                                                 lease office space
                                                 commonlly referred to
                                                 as: 5471 Kearnt Villa
                                                 Road, San Diego, CA.
                                                 7/1/2023 - 6/30/2024 =
                                                 $30,492.39 per month
                                                 7/1/2024 - 6/30/2025 =
                                                 $31,407.16 per month
                                                 7/1/2025 - 6/30/2026 =
                                                 $32,349.37 per month
                                                 7/1/2026 - 6/30/2027 =
                                                 $33,319.86 per month
                                                 7/1/2027 - 6/30/2028 =
                                                 $34,319.45 per month
               State the term remaining          3/24/2023 - 6/30/2023
                                                                                    LLJ Office Ventures 5, LLC
           List the contract number of any                                          P.O. Box 845592
                 government contract                                                Los Angeles, CA 90084




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 23-00778-LT11                  Filed 03/24/23           Entered 03/24/23 15:43:14                  Doc 1        Pg. 41 of 63

Fill in this information to identify the case:

Debtor name      Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                     Schedule H: Your Codebtors                                            Page 1 of 1
             Case 23-00778-LT11                   Filed 03/24/23      Entered 03/24/23 15:43:14                   Doc 1          Pg. 42 of 63



Fill in this information to identify your case:

Debtor 1                      Laura Harding

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA REVISED
                                              PLAN 6/2016

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
        Case 23-00778-LT11                 Filed 03/24/23            Entered 03/24/23 15:43:14                       Doc 1        Pg. 43 of 63


Debtor 1   Arthroscopic & Laser Surgery Center of San Diego, L.P.                                Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $              0.00 = $              0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $              0.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
       Case 23-00778-LT11                     Filed 03/24/23                 Entered 03/24/23 15:43:14                     Doc 1      Pg. 44 of 63



Fill in this information to identify your case:

Debtor 1                 Laura Harding                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY
                                          REVISED PLAN 6/2016

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
      Case 23-00778-LT11                      Filed 03/24/23               Entered 03/24/23 15:43:14                        Doc 1         Pg. 45 of 63


Debtor 1     Arthroscopic & Laser Surgery Center of San Diego, L.P.                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                    0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                    0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                    0.00
      6d. Other. Specify:                                                                    6d. $                                                    0.00
7.    Food and housekeeping supplies                                                           7. $                                                   0.00
8.    Childcare and children’s education costs                                                 8. $                                                   0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                   0.00
10.   Personal care products and services                                                    10. $                                                    0.00
11.   Medical and dental expenses                                                            11. $                                                    0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                    0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                    0.00
14.   Charitable contributions and religious donations                                       14. $                                                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                             0.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                             0.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                     0.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                                    0.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case 23-00778-LT11                 Filed 03/24/23            Entered 03/24/23 15:43:14                      Doc 1      Pg. 46 of 63




Fill in this information to identify the case:

Debtor name         Arthroscopic & Laser Surgery Center of San Diego, L.P.

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA REVISED PLAN 6/2016

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                          $1.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $4,166,766.94
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $4,577,852.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 23-00778-LT11                  Filed 03/24/23             Entered 03/24/23 15:43:14                       Doc 1        Pg. 47 of 63

Debtor       Arthroscopic & Laser Surgery Center of San Diego, L.P.                             Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              Alicia Annette Clark                                 Money levied                    $147,472.31                Secured debt
              c/o Lyon Law PC                                      from bank                                                  Unsecured loan repayments
              3605 Long Beach Blvd., #311                          account                                                    Suppliers or vendors
              Long Beach, CA 90807                                 1/19/2023                                                  Services
                                                                                                                           Other Judgment from
                                                                                                                         wrongful termination lawsuit


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    David J. Chao                                        3/15/2023                        $34,000.00           Reimbursement for bridge loan
              8901 Activity Road                                                                                         to cover payroll
              San Diego, CA 92126
              Partner

      4.2.    Saratoga Surgery Group, Inc.                         25 back and                             $0.00         The Debtor transferred multiple
              8901 ACTIVITY ROAD                                   forth                                                 payments to Saratoga's
              San Diego, CA 92126                                  transfers                                             Checking Account in order to
              General Partner                                      from                                                  operate business and avoid a
                                                                   1/24/2023 to                                          levy. However, all funds were
                                                                   3/24/2023                                             returned to the Debtor before
                                                                                                                         filing. Debtor made multiple
                                                                                                                         transactions
                                                                                                                         totalling$562,650.00 to
                                                                                                                         Saratoga, and Saratoga
                                                                                                                         returned $612,860 in total
                                                                                                                         funds, thus all funds returned.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case 23-00778-LT11                 Filed 03/24/23             Entered 03/24/23 15:43:14                      Doc 1         Pg. 48 of 63

Debtor        Arthroscopic & Laser Surgery Center of San Diego, L.P.                             Case number (if known)




          None.

               Case title                             Nature of case               Court or agency's name and                 Status of case
               Case number                                                         address
      7.1.     Alicia Annette Clark v.                Civil                        Superior Court of CA                          Pending
               Arthroscopic & Laser Surgery                                        County of SD, Central Div.                    On appeal
               Center of San Diego                                                 330 W Broadway                                Concluded
               37-2018-00026654-CU-WT-CT                                           San Diego, CA 92101
               L

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                           value
                Address
      11.1.                                             Debtor paid for pre-bankruptcy legal                          3/21/2023
                Bankruptcy Law Center                   services involving Debtor's exam and                          ($50,000),
                1230 Columbia St., Ste. 1100            negotiations with Judgment Creditor, as                       1/27/2023
                San Diego, CA 92101                     well as a retainer for Chapter 11 legal fees.                 ($1,000)                    $51,000.00

                Email or website address
                www.bankruptcyattorneys.org

                Who made the payment, if not debtor?




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
          Case 23-00778-LT11                     Filed 03/24/23          Entered 03/24/23 15:43:14                      Doc 1      Pg. 49 of 63

Debtor        Arthroscopic & Laser Surgery Center of San Diego, L.P.                             Case number (if known)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care
      15.1.     Arthroscopic & Laser                   Surgical Center - Business provides facilities for                         1500
                Surgery Center of                      Physicians to perform surgeries on their patients.
                San Diego
                                                       Location where patient records are maintained (if different from           How are records kept?
                5731 Kearny Villa Road,                facility address). If electronic, identify any service provider.
                Suite 100                              5731 Kearny Villa Road, Suite 100, San Diego, CA                           Check all that apply:
                San Diego, CA 92123-3000               92123
                                                                                                                                     Electronically
                                                                                                                                     Paper


Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
         Case 23-00778-LT11                    Filed 03/24/23            Entered 03/24/23 15:43:14                      Doc 1         Pg. 50 of 63

Debtor      Arthroscopic & Laser Surgery Center of San Diego, L.P.                               Case number (if known)



                The Surgery Center collects medical records on all patients which
                includes demographics, SSN's, and insurance information, which
                includes private information per HIPAA. The Center keeps
                hardcopies of files on site for up to 6 months, and for another 9
                months records are scanned to the server (which is encrypted and
                backed up on the cloud). All records are also housed offsite at
                CorData.
                Does the debtor have a privacy policy about that information?
                  No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                    No Go to Part 10.
                    Yes. Fill in below:

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Cordata                                                Cordata - Medical                     Medical Records backed up                      No
      8150 Corporate Park Drive                              Records Storage                       and held offsite.                              Yes
      Suite 210
      Cincinnati, OH 45242



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
           Case 23-00778-LT11                 Filed 03/24/23            Entered 03/24/23 15:43:14                       Doc 1         Pg. 51 of 63

Debtor      Arthroscopic & Laser Surgery Center of San Diego, L.P.                              Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Saratoga Surgery Group, Inc.             General Partner of Debtor                         EIN:
            8901 ACTIVITY ROAD
            San Diego, CA 92126                                                                        From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
         Case 23-00778-LT11                   Filed 03/24/23            Entered 03/24/23 15:43:14                      Doc 1        Pg. 52 of 63

Debtor      Arthroscopic & Laser Surgery Center of San Diego, L.P.                              Case number (if known)



             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Robert E. Dennis                                                                                                9/2022
                    Dennis & Dennis LLP
                    P.O. Box 720609
                    San Diego, CA 92172

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Saratoga Surgery Center                 5471 Kearny Villa Rd., #100                         General partner                           79%
      Group                                   San Diego, CA 92123

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      David J. Chao                           8901 Activity Road                                  Partner                                   18%
                                              San Diego, CA 92126

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Matthew Gargulinski, DO                 35080 Via Cerro Vista                               Partner                                   3%
                                              Temecula, CA 92592

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Laura Harding                           5471 Kearny Villa Rd., #100                         Secretary                                 0
                                              San Diego, CA 92123



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
         Case 23-00778-LT11                  Filed 03/24/23            Entered 03/24/23 15:43:14                      Doc 1      Pg. 53 of 63

Debtor       Arthroscopic & Laser Surgery Center of San Diego, L.P.                            Case number (if known)




           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                                          Dr. Chao provided
      .                                                                                                                             $34,000 as a
                                                                                                                                    bridge loan to the
                                                                                                                                    Debtor in order to
                                                                                                                                    cover payroll on
                                                                                                                                    1/27/2023, so as to
                                                                                                                                    pay the
                                                                                                                                    employees
                                                                                                                                    payroll. The
              David Chao                                                                                                            Debtor paid said
              5471 Kearny Villa Rd., #100                                                                                           loan back on
              San Diego, CA 92123                     $34,000                                                   3/15/2023           3/15/2023.

              Relationship to debtor
              President of Saratoga
              Surgery Center Group, Inc.


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
         Case 23-00778-LT11                   Filed 03/24/23            Entered 03/24/23 15:43:14                      Doc 1   Pg. 54 of 63

Debtor      Arthroscopic & Laser Surgery Center of San Diego, L.P.                              Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 24, 2023

/s/ Laura Harding                                               Laura Harding
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Secretary, Saratoga Surgery Center
                                     Group, Inc.

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
           Case 23-00778-LT11                  Filed 03/24/23            Entered 03/24/23 15:43:14                   Doc 1        Pg. 55 of 63

B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                              Southern District of California revised plan 6/2016
 In re       Arthroscopic & Laser Surgery Center of San Diego, L.P.                                           Case No.
                                                                 Debtor(s)                                    Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 48,262.00
             Prior to the filing of this statement I have received                                        $                 48,262.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e.     [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     March 24, 2023                                                           /s/ Ahren A. Tiller
     Date                                                                     Ahren A. Tiller 250608
                                                                              Signature of Attorney
                                                                              Bankruptcy Law Center
                                                                              1230 Columbia St., Suite 1100
                                                                              San Diego, CA 92101
                                                                              619-894-8831 Fax: 866-444-7026
                                                                              Name of law firm
         Case 23-00778-LT11                   Filed 03/24/23              Entered 03/24/23 15:43:14                       Doc 1         Pg. 56 of 63


                                                      United States Bankruptcy Court
                                             Southern District of California revised plan 6/2016
 In re    Arthroscopic & Laser Surgery Center of San Diego, L.P.                                                  Case No.
                                                              Debtor(s)                                           Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Saratoga Surgery Group, Inc.                                                                                                 General Partner
8901 ACTIVITY ROAD
San Diego, CA 92126


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Secretary, Saratoga Surgery Center Group, Inc. of the corporation named as the debtor in this case, declare
under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the
best of my information and belief.



Date March 24, 2023                                                      Signature /s/ Laura Harding
                                                                                        Laura Harding

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
        Case 23-00778-LT11                 Filed 03/24/23           Entered 03/24/23 15:43:14                   Doc 1        Pg. 57 of 63

CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
Ahren A. Tiller 250608
1230 Columbia St., Suite 1100
San Diego, CA 92101
619-894-8831
250608 CA

                  UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
        325 West "F" Street, San Diego, California 92101-6991


In Re
Arthroscopic & Laser Surgery Center of San Diego, L.P.
                                                                                        BANKRUPTCY NO.



                                                                       Debtor.

                                                VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

    New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 43

    Conversion filed on               . See instructions on reverse side.
             Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
             Post-petition creditors added. Scannable matrix required.
             There are no post-petition creditors. No matrix required.

    Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
    Equity Security Holders. See instructions on reverse side.
                       Names and addresses are being ADDED.
                       Names and addresses are being DELETED.
                       Names and addresses are being CORRECTED.

PART II (check one):

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

    The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
    the filing of a matrix is not required.




Date:    March 24, 2023                                     /s/ Laura Harding
                                                            Laura Harding/Secretary, Saratoga Surgery Center Group, Inc.
                                                            Signer/Title




                                               REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
     Case 23-00778-LT11                Filed 03/24/23           Entered 03/24/23 15:43:14                    Doc 1       Pg. 58 of 63

CSD 1008 (Page 2) [08/21/00]
                                                             INSTRUCTIONS

1)    Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)    A creditors matrix with Verification is required whenever the following occurs:

      a)       A new petition is filed. Diskette required.

      b)       A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

      c)       An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
               debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)    The scannable matrix must be originally typed or printed. It may not be a copy.

4)    CONVERSIONS:

      a)       When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
               mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

      b)       For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
               mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
               security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)    AMENDMENTS AND BALANCE OF SCHEDULES:

      a)       Scannable matrix format required.

      b)       The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
               portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

      c)       Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
               each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
               on the same page in alphabetical order.

6)    Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
    Case 23-00778-LT11   Filed 03/24/23   Entered 03/24/23 15:43:14   Doc 1   Pg. 59 of 63



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                          1370 Creekside Blvd.
                          Naples, FL 34108




                          14445 Grasslands Dr.
                          Englewood, CO 80112




                          345 E. Main St.
                          c/o Legal Department
                          Warsaw, IN 46580



                          3885 Arapaho Rd.
                          Addison, TX 75001




                          6535 State Hwy 161
                          Irving, TX 75039




                          9954 Mayland Dr., Ste. 5176
                          Henrico, VA 23233




                          Acumed, LLC
                          7995 Collection Center Dr.
                          Chicago, IL 60693



                          Alicia Annette Clark
                          c/o Lyon Law PC
                          3605 Long Beach Blvd., #311
                          Long Beach, CA 90807



                          Arthrex, Inc.
                          P.O. Box 403511
                          Atlanta, GA 30384
Case 23-00778-LT11   Filed 03/24/23   Entered 03/24/23 15:43:14   Doc 1   Pg. 60 of 63




                      Brasseler USA
                      One Brasseler Blvd.
                      Savannah, GA 31419



                      CSC Lawyers Incorporating Serv
                      2710 Gateway Oaks
                      Sacramento, CA 95833



                      CT Corporation Systems
                      330 N. Brand Ave.
                      Glendale, CA 91203



                      Franchise Tax Board
                      MS A340
                      P.O. Box 2952
                      Sacramento, CA 95812



                      Global Power Group, Inc.
                      12060 Woodside Ave
                      Lakeside, CA 92040



                      Helix Mechanical
                      1100 N. Magnolia Ave.
                      Suite L
                      El Cajon, CA 92020



                      Hickman & Robinson, LLP
                      701 B St., Ste. 1840
                      San Diego, CA 92101



                      Internal Revenue Service
                      Centralized Insolvency Oper.
                      PO Box 7346
                      Philadelphia, PA 19101-7346



                      J & J Health Care Systems
                      5972 Collections Center Dr.
                      Chicago, IL 60693
Case 23-00778-LT11   Filed 03/24/23   Entered 03/24/23 15:43:14   Doc 1   Pg. 61 of 63




                      Jan Pro of San Diego
                      4125 Sorrento Valley Blvd.
                      Suite E
                      San Diego, CA 92126



                      JJJ Enterprises
                      P. O. Box 463021
                      Escondido, CA 92046



                      LLJ Office Ventures 5, LLC
                      P.O. Box 845592
                      Los Angeles, CA 90084



                      McKesson Medical Surgical, Inc
                      P.O. Box 933027
                      Atlanta, GA 31193



                      Medely
                      P.O. Box 736997
                      Dallas, TX 75373



                      Medico Professional Linen Svcs
                      2201 E. Carson St.
                      Long Beach, CA 90807



                      Orange County Sheriff
                      Harbor Division
                      4601 Jamboree Road, RM 108
                      Newport Beach, CA 92660



                      Osteomed LP
                      2241 Collection Center Dr.
                      Chicago, IL 60693



                      Paragon 28 Inc.
                      Dept V1532
                      P.O. Box 17180
                      Denver, CO 80217
Case 23-00778-LT11   Filed 03/24/23   Entered 03/24/23 15:43:14   Doc 1   Pg. 62 of 63




                      POS Profeessional Office Svcs
                      P.O. Box 450
                      Waterloo, IA 50704



                      ProPharma Distribution
                      11005 Dover St., Ste. 1000
                      Broomfield, CO 80021



                      Quill Corporation
                      P.O. Box 37600
                      Philadelphia, PA 19101



                      Registered Agents Inc.
                      1401 21st St., Ste. R
                      Sacramento, CA 95811



                      Saratoga Surgery Center Group
                      5471 Kearny Villa Rd., #100
                      San Diego, CA 92123



                      Shred-It c/o Stericycle
                      28883 Network Place
                      Chicago, IL 60673



                      Stryker
                      5900 Optical Ct.
                      San Jose, CA 95138



                      Stryker
                      2825 Airview Blvd.
                      Portage, MI 49002



                      Stryker Berchtold Com.
                      22491 Network Place
                      Chicago, IL 60673
Case 23-00778-LT11   Filed 03/24/23   Entered 03/24/23 15:43:14   Doc 1   Pg. 63 of 63




                      Stryker Endoscopy
                      P.O. Box 93276
                      Chicago, IL 60673



                      The Watkins Firm
                      9915 Mira Mesa Blvd., Ste. 130
                      San Diego, CA 92131



                      Trilogy MedWaste
                      P.O. Box 670567
                      Dallas, TX 75267



                      US BANK
                      West Auto Loan
                      PO BOX 790179
                      Saint Louis, MO 63179-0179



                      Wright Medical Technology
                      P.O. Box 503482
                      Saint Louis, MO 63150



                      Wright Medical Technology
                      320 State Pl.
                      Escondido, CA 92029



                      Zimmer US
                      75 Remittance Dr., Ste. 3283
                      Chicago, IL 60675
